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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA
                                   CENTRAL DIVISION
   TAYVIN GALANAKIS,
        Plaintiff,                                                    CASE NO. 4:23-cv-00044

   v.

   CITY OF NEWTON, IOWA, et al.,                                      PLAINTIFF/COUNTERCLAIM
         Defendants.                                                  DEFENDANT’S REPLY TO
                                                                      RESISTANCE TO MOTION FOR
   NATHAN WINTERS AND CHRISTOPHER
                                                                      SUMMARY JUDGMENT ON
   WING,
                                                                      COUNTERCLAIMS
         Counterclaim Plaintiffs,

   v.                                                                 *REDACTED*

   TAYVIN GALANAKIS,
        Counterclaim Defendant.

         COMES NOW the Plaintiff/Counterclaim Defendant and for this Reply to

Motion to Resistance to Motion for Summary Judgment on Counterclaims states:

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                                                    INTRODUCTION

         During discovery, Newton Police Officer Nathan Winters was asked about the
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domestic abuse underlying his ex-girlfriend’s Petition for Relief from Domestic Abuse.

In response, he asserted the Fifth Amendment Privilege against self-incrimination at

the advice of counsel. With discovery closed and facing summary judgment, Officer

Winters has now produced a self-serving affidavit denying his actions. This affidavit

must be struck and summary judgment granted in Tayvin’s favor.

                                      Argument

A.   Officer Winters Cannot Be Permitted to Rely on a Self-Serving Affidavit
     after Asserting Fifth Amendment Protections During Discovery

      Officer Winters “cannot hide behind a blanket invocation of the Fifth

Amendment.” Koester v. American Republic Investments, Inc., 11. F.3d 818, 823 (8th

Cir. 1993). While a witness can decline to answer questions under the Fifth

Amendment, it is not a substitute for evidence. U.S. v. Rylander, 460 U.S. 752, 758

(1983). The Fifth Amendment is a shield, not “a sword whereby a claimant asserting

the privilege would be freed from adducing proof in support of a burden which would

otherwise have been his.” Id. This Court must “fashion a response to a party's

invocation of the Fifth that is no more harsh than necessary to prevent unfair and

unnecessary prejudice to the other side.” S.E.C. v. Brown, 579 F.Supp.2d 1228, 1234

(D. Minn. 2008) aff’d by S.E.C. v. Brown, 658 F.3d 858 (8th Cir. Oct. 13, 2011).

      Officer Winters claims producing his unsworn statements in an investigation

conducted by his own police department, ending in his favor because the investigating

Lieutenant believes victims require corroboration, is sufficient.. This is false.

      Where a party asserted affirmative defenses and a counterclaim in response to

a civil forfeiture, these were struck because the court could “find no lesser sanction

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which would preserve the government's right to discovery and cross-examination.”

U.S. v. One Parcel of Real Prop. Commonly Known as 901 N.E. Lakewood Drive,

Newport, Or., 780 F. Supp. 715, 722 (D. Or. 1991). It recognized she “did answer some

questions regarding her…affirmative defense…and her counterclaim[,]” including

testifying she was “promised that nothing would happen to her if she cooperated and

was truthful” in an interview, “…that she was cooperative and truthful, and…took

their promise to mean that nothing adverse would happen[.]” Id. She then asserted

the Fifth Amendment “in response to questions regarding her specific statements

during the interview[,] …questions regarding her discussion of the interview [and]

refused to answer questions regarding the accuracy of the statements reportedly

made by” alleged co-conspirators. Id. By refusing to answer questions “which could

reflect on her credibility and the accuracy of the information which she provided[,]”

the court found she “refused to provide discovery as to crucial elements of her

counterclaim and sixth affirmative defense.” Id. Noting it was a harsh remedy, the

court stated:

          The purpose of cross-examination is to test the credibility of the
          witness and the truthfulness of her earlier testimony. …Striking all
          of the testimony of a witness may be the only appropriate remedy
          when refusal to answer the questions of the cross-examiner
          frustrates the purpose of the process.

Id. The court alternatively held:

          …the testimony regarding the basis for her counterclaim and
          estoppel defense should be disregarded due to her refusal to answer
          the government's questions regarding essential elements of the
          counterclaim and defense. Thus, Bailey has failed to present
          evidence which could meet her burden of proof, and summary
          judgment…is appropriate.

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Id. at n.1.

       Officer Winters cannot rely on a self-serving affidavit after refusing to answer

related questions. See U.S. v. 15 Black Ledge Drive, 897 F.2d 97, 102–03 (2nd Cir.

1990) (striking testimony and granting summary judgment where claimant

submitted a conclusory affidavit but asserted the Fifth Amendment when asked

related questions in deposition). This Court has “ample authority to strike the

affidavit once [Officer Winters] shielded his account of the ‘facts’ from scrutiny by

invoking the fifth amendment[.]” U.S. v. Parcels of Land, 903 F.2d 36, 44 (1st Cir.

1990). As one court put it:

          Defendant has, however, chosen the tactic of seeking to bar plaintiff's
          access to the evidence. At least to the extent of pleading the Fifth
          Amendment, that is his right. But, in a civil case, he cannot have it
          both ways. By hiding behind the protection of the Fifth Amendment
          as to his contentions, he gives up the right to prove them. By his
          initial obstruction of discovery and his subsequent assertion of the
          privilege, defendant has forfeited the right to offer evidence
          disputing the plaintiff's evidence or supporting his own denials.

S.E.C. v. Benson, 657 F.Supp. 1122, 1129 (S.D. NY 1987). This is the situation here.

By using the Fifth Amendment to shield himself from questions, Officer Winters

forfeited his right to a self-serving affidavit.

B.   Appendix Documents are Sufficiently Authenticated

       It is asserted Tayvin must be denied summary judgment because certain

documents cannot be considered as they were not authenticated. This is inaccurate.

       Appendix pages 21 to 26 are a notarized Affidavit with sworn-to attachments

submitted by Courtney Van Der Hart based on her personal knowledge. Pages 34 to



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40 are a Petition for Relief from Domestic Abuse signed by Courtney Van Der Hart

“certify[ing] under penalty of perjury and pursuant to the laws of the State of Iowa

that the information I have provided in this Petition is true and correct.” (Appx. 40.)

      Pages 41 to 53 are court orders granting the Petition for Relief from Domestic

Abuse and entering a Protective Order against Officer Winters signed by judges of

the Fifth Judicial District of Iowa and publicly filed in Jasper County Case No.

DACV122471. This Court “‘may take judicial notice of a document filed in another

court ‘not for the truth of the matters asserted in the other litigation, but rather to

establish the fact of such litigation and related filings.’” Liberty Mut. Ins. Co. v.

Rotches Pork Packers, Inc., 969 F.2d 1384, 1388 (2d Cir.1992). That these Orders were

entered against Officer Winters is all that is to be considered.

      Pages 53 to 56 are an excerpt from the internal investigation into the stop of

Tayvin, an exhibit entered and discussed during the Depositions of Officer Winters

and Chief Burdess. (Appx. 86 [2:10], 91 [25:6-27:14], 94 [40:12-14]; Supp.Appx. 14.)

      Pages 57 to 62 are excerpts of the Newton Police Department Policy Manual,

a document electronically signed by Chief Burdess as “The Newton Police

Department Policy Manual represents the best practices of modern police

procedures.” (Supp.Appx. 1400.) Law enforcement and other governmental policies

are appropriately considered on summary judgment. See Roubideaux v. N. Dakota

Dep't of Corr. & Rehab., 570 F.3d 966, 979 (8th Cir. 2009) (affirming summary

judgment and taking “judicial notice of the Policies and Procedures Manual of the

North Dakota Department of Corrections and Rehabilitation”); Day v. Chaplin, 354



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Fed.Appx. 472, 474 (2nd Cir. 2009) (affirming summary judgment when “District

Court took judicial notice of Administrative Directive 9.6 of the Connecticut

Department of Correction[.]”)

      Pages 63 to 66 are the communications between Tayvin and Ms. Van Der Hart,

which Ms. Van Der Hart has authenticated. (Supp.Appx. 3-8.)

      Pages 67 to 70 are the in-context Facebook statements alleged to be defamatory

by Officer Winters and Lt. Wing, which they introduced into the record as part of the

Counterclaim pleading. (Counteclaimant.Appx. 59-60.) They are accessible at

https://www.facebook.com/tayvin.galanakis, with the post filter set to August 29,

2022, last accessed January 19, 2024.

      Page 101 is the same video submitted by Counterclaim Plaintiffs.

(Counteclaimant.Appx. 1-2 [¶3-4].) The timestamps would be the same, so the Court

can watch whichever it prefers.

                                   CONCLUSION

      Officer Winters refused to answer questions under oath as to whether he

committed domestic abuse. His affidavit was provided one business day before

hearing. This is abusive and improper and the Court cannot permit it. His affidavit

must be struck. Tayvin’s documents are properly authenticated. Summary judgment

should be granted in Tayvin’s favor on the counterclaims.




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                           GRIBBLE, BOLES, STEWART & WITOSKY LAW

                                        BY:         /s/ Adam C. Witosky
                                                Matthew Boles           AT0001037
                                                Adam C. Witosky         AT0010436
                                                2015 Grand Avenue, Suite 200
                                                Des Moines, Iowa 50312
                                                Telephone: (515) 235-0551
                                                Fax: (515) 243-3696
                                                Email: mboles@gbswlaw.com
                                                       awitosky@gbswlaw.com
                                                ATTORNEYS FOR PLAINTIFF
                                       PROOF OF SERVICE
          The undersigned certifies that the foregoing instrument was electronically filed on
 CM/ECF on January 19, 2024. Subject to the exceptions cited therein, Local Rule 5A provides
 this electronic filing, once electronically posted to the registered case party’s CM/ECF account,
 constitutes service for purposes of the Federal Rules of Civil Procedure.
          Copies have been provided to all registered parties because once the document is posted,
 those parties can view and download the presented or filed document.

                                              /s/ Adam C. Witosky




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